          Case 3:22-cv-06665-WHO Document 11 Filed 11/07/22 Page 1 of 2



                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA



                                    RELATED CASE ORDER



        A Motion for Administrative Relief to Consider Whether Cases Should be Related or a
Sua Sponte Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been
filed. The motion is unopposed. As the judge assigned to case



         22-cv-03580-WHO

         Doe v. Meta Platforms, Inc.



I find that the more recently filed case that I have initialed below is related to the case assigned to
me, and such case shall be reassigned to me. Any cases listed below that are not related to the
case assigned to me are referred to the judge assigned to the next-earliest filed case for a related
case determination.



 Case            Title                              Related Not Related
 22-cv-06665-AGT Doe, et al v. Meta Platforms, Inc. XX


                                               ORDER



        Counsel are instructed that all future filings in any reassigned case are to bear the initials
of the newly assigned judge immediately after the case number. Any case management
conference in any reassigned case will be rescheduled by the Court. The parties shall adjust the
dates for the conference, disclosures and report required by FRCivP 16 and 26 accordingly.
Unless otherwise ordered, any dates for hearing noticed motions are vacated and must be re-
noticed by the moving party before the newly assigned judge; any deadlines set by the ADR Local
Rules remain in effect; and any deadlines established in a case management order continue to
govern, except dates for appearance in court, which will be rescheduled by the newly assigned
judge.


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Dated: November 7, 2022               By:

                                      William H. Orrick

                                      United States District Judge




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